Exhibit A
D A VI D W. S C O FI E L D – 4 1 4 0                                   J or d a n K. C a m er o n
P E T E R S ❘ S C O FI E L D                                           C A M E R O N RI N G W O O D, L C
A Pr of essi o n al C or p or ati o n                                  6 9 7 5 U ni o n P ar k A v e, S uit e 6 0 0
7 4 3 0 Cr e e k R o a d, S uit e 3 0 3                                C ott o n w o o d H ei g hts, U T 8 4 0 4 7
S a n d y, Ut a h 8 4 0 9 3 -6 1 6 0                                   T el e p h o n e: ( 3 8 5) 4 6 3 -2 4 2 5
T el e p h o n e:     ( 8 0 1) 3 2 2-2 0 0 2                           j or d a n @ c a m er o nri n g w o o d. c o m
F a csi mil e:        ( 8 0 1) 9 1 2-0 3 2 0
E -M ail:             d ws @ ps pl a w y ers. c o m                    Eli z a b et h C. Ri n e h art ( pr o h a c vi c e)
                                                                       VE N ABLE LLP
Fr a n k S. H e di n ( Pr o H a c Vi c e)                              7 5 0 E. Pr att Str e et, S uit e 9 0 0
Elli ot O. J a c ks o n ( Pr o H a c Vi c e)                           B alti m or e, M D 2 1 2 0 2
H E DI N L L P                                                         T el e p h o n e: ( 4 1 0) 5 2 8 -4 6 4 6
1 3 9 5 Bri c k ell A v e n u e, St e 6 1 0                            l cri n e h art @ v e n a bl e. c o m
Mi a mi, Fl ori d a 3 3 1 3 1
T el: ( 3 0 5) 3 5 7 -2 1 0 7
F a x: ( 3 0 5) 2 0 0 -8 8 0 1                                         Att or n e ys f or D ef e n d a nt
E -m ail: f h e di n @ h e di nll p. c o m
            ej a c ks o n @ h e di nll p. c o m

Att or n e ys f or Pl ai ntiffs




                                   I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T

                                              F O R T H E DI S T RI C T O F U T A H


 S H A N N O N A R N S T EI N; D A N A B A S S E T T;
 M A R TI K A            G A R T M A N;    S UELLE N
 H E N D RI X; D E B R A M A C K LI N; J E A NI N E
 M A R K; MI C H E L L E M EI N H O L D; M A RI E
                                                         A T T O R N E Y P L A N NI N G
 MI C H E L S; JI L LI O Y E N Q U E; B A R B A R A
                                                         M E E TI N G R E P O R T
 P O R T E R; a n d E LI Z A B E T H W U E B K E R,
 i n di vi d u all y a n d o n b e h alf of all ot h ers
 si mil arl y sit u at e d,,

            Pl ai ntiffs,
 v.                                                                 C as e N o. 2: 2 4 -c v -0 0 3 4 4 -RJ S

 S U N D A N C E H O L DI N G S G R O U P, L L C,                   C hi ef J u d g e R o b ert J. S h el b y

                                                                    M a gistr at e J u d g e D a p h n e A. O b er g

            D ef e n d a nt.




                                                                1
       P urs u a nt t o F e d er al R ul es of Ci vil Pr o c e d ur e 1, 1 6, a n d 2 6 a n d t h e C o urt’s Or d er t o Pr o p os e d

S c h e d ul e ( E C F N o. 1 4), t h e p arti es j oi ntl y s u b mit t h e f oll o wi n g Att or n e y Pl a n ni n g             M e eti n g

R e p ort.


1.     P R E LI MI N A R Y M A T T E R S
                    Cl ai ms a n d D ef e ns es: ( d es cri b e t h e n at ur e a n d b asis of cl ai ms a n d a n y
        a.
                        affir m ati v e d ef e ns es)

                                  Pl ai ntiffs’ P ositi o n: T his is a c o ns u m er pri v a c y cl ass a cti o n. Pl ai ntiffs

                        all e g e t h at D ef e n d a nt S u n d a n c e H ol di n gs Gr o u p, L L C ( “ S u n d a n c e ”), a Ut a h

                        c or p or ati o n, vi ol at e d Ut a h’s N oti c e of I nt e nt t o S ell N o n p u bli c P ers o n al

                        I nf or m ati o n A ct, Ut a h C o d e § 1 3-3 7 ( “t h e NI S N PI A ”) b y s elli n g, r e nti n g, or

                        ot h er wis e    dis cl osi n g f or       c o m p e ns ati o n    Pl ai ntiffs’     n o n p u bli c   p ers o n al

                        i nf or m ati o n, o bt ai n e d as t h e r es ult of t h eir p ur c h as es of pr o d u cts fr o m

                        S u n d a n c e , t o t hir d p arti es. Pl ai ntiffs bri n g t h e c as e o n b e h alf of a p ut ati v e cl ass

                        d efi n e d as “ all p ers o ns i n t h e U nit e d St at es w h o, at a n y p oi nt d uri n g t h e

                        a p pli c a bl e st at ut or y p eri o d, h a d t h eir Pri v at e P ur c h as e I nf or m ati o n [( as d efi n e d

                        i n t h e o p er ati v e c o m pl ai nt]), o bt ai n e d b y D ef e n d a nt o n or aft er J a n u ar y 1, 2 0 0 4

                        as a r es ult of a c o ns u m er tr a ns a cti o n, dis cl os e d t o t hir d p arti es b y S u n d a n c e . ”

                        Pl ai ntiffs s e e k , i nt er ali a, st at ut or y d a m a g es of $ 5 0 0. 0 0 p er vi ol ati o n t o e a c h

                        Pl ai ntiff a n d Cl ass m e m b er p urs u a nt t o Ut a h C o d e A n n. § 1 3 -3 7 -2 0 3( 2)( a).

                                  D ef e n d a nt’s P ositi o n: D ef e n d a nt m ai nt ai ns t h at t h e NI S N PI A e x pr essl y

                        pr o hi bits cl ass a cti o ns, t h at its cl ass a cti o n b ar a p pli es i n f e d er al c o urt, a n d t h at

                        wit h o ut a cl ass Pl ai ntiffs c a n n ot s atisf y t h e a m o u nt -i n-c o ntr o v ers y r e q uir e m e nt

                        f or f e d er al j uris di cti o n. S e e 2 8 U. S. C. § 1 3 3 2( d). D ef e n d a nt f urt h er cl ai ms t h at
     Pl ai ntiffs h a v e       w ai v e d a n y cl ai m u n d er                NI S N PI A a n d c o ns e nt e d t o t h e

     dis cl os ur e of t h eir i nf or m ati o n b y, i nt er ali a, m a ki n g m ulti pl e p ur c h as es fr o m

     S u n d a n c e, i n cl u di n g p ur c h as es aft er c o m m e n ci n g t his a cti o n. D ef e n d a nt f urt h er

     dis p ut es a n d d e ni es all of Pl ai ntiffs’ cl ai ms, i n cl u di n g its all e g ati o ns p ert ai ni n g

     t o cl ass c ertifi c ati o n.


b.   F e d. R. Ci v. P. 2 6(f)( 1) C o nf er e n c e: ( d at e t h e c o nf er e n c e                 J a n u ar y 2, 2 0 2 5

     w as h el d)

c.   P a rti ci p a nts: (i n cl u d e t h e n a m e of t h e p art y a n d att or n e y, if a p pli c a bl e)
     Fr a n k S. H e di n, c o u ns el f or Pl ai ntiffs; a n d Li z C. Ri n e h art a n d J or d a n C a m er o n,

     c o u ns el f or D ef e n d a nt

d.   F e d. R. Ci v. P 2 6( a)( 1) I niti al Dis cl os ur es: (t h e p arti es h a v e                 0 1/ 3 1 / 2 0 2 5

     e x c h a n g e d i niti al dis cl os ur es or will e x c h a n g e n o l at er t h a n

     t h e d at e pr o vi d e d)

e.   U n d er F e d. R. Ci v. P. 5( b)( 2)( E), t h e p arti es                     Y es ☒             No     ☐

     a gr e e t o r e c ei v e all it e ms r e q uir e d t o b e

     s er v e d u n d er F e d. R. Ci v. P. 5( a) b y t h e

     c o urt’s el e ctr o ni c -fili n g s yst e m or e m ail
     tr a ns missi o n. El e ctr o ni c s er vi c e c o nstit ut es

     n oti c e a n d s er vi c e as r e q uir e d b y t h os e r ul es.

     T h e ri g ht t o s er vi c e b y U S P S m ail is w ai v e d.

     T h e f oll o wi n g e m ail a d dr ess es m ust b e i n cl u d e d

     o n a n y e m ail s e nt t o eff e ct u at e el e ctr o ni c s er vi c e:

     F or Pl ai ntiff: f h e di n @ h e di nll p. c o m;

     ej a c ks o n @ h e di nll p. c o m ;

     e arri b as @ h e di nll p. c o m




                                                       3
                  F or D ef e n d a nt : j or d a n @ c a m er o nri n g w o o d. c o m;

                  fili n g @ c a m er o nri n g w o o d. c o m;

                  l cri n e h art @ v e n a bl e. c o m; aj vitti @ v e n a bl e. c o m ;

                  t br a n dl es @ v e n a bl e. c o m


2.   P R O T E C TI V E O R D E R
      a.         T h e p arti es a nti ci p at e t h e c as e will i n v ol v e             Y es ☒           No      ☐

                 t h e dis cl os ur e of i nf or m ati o n, d o c u m e nts, or

                 ot h er m at eri als t h at will b e d esi g n at e d as

                 c o nfi d e nti al.

      b.         T h e p arti es a nti ci p at e t h at t h e c as e will i n v ol v e t h e dis cl os ur e of i nf or m ati o n,

                 d o c u m e nts, or ot h er m at eri als t h at will b e d esi g n at e d as C O N FI D E N TI A L .

                 G o o d c a us e e xists f or t h e c o urt t o e nt er t h e c o urt’s St a n d ar d Pr ot e cti v e Or d er

                 ( S P O) u n d er D U Ci v R 2 6-2 , i n cl u di n g b e c a us e it is e x p e ct e d t h e d o c u m e nts

                 dis cl os e d m a y c o nt ai n s e nsiti v e fi n a n ci al i nf or m ati o n of t h e p arti es, s u c h as

                 fi n a n ci al st at e m e nts a n d p a yr oll r e c or ds.


3.   DI S C O V E R Y P L A N
      a.           Dis c o v er y Pl a n : T h e p arti es a gr e e t o t h e                Y es ☐           No ☒
                   f oll o wi n g dis c o v er y pl a n.
                         • If t h e p arti es dis a gr e e, cl e arl y
                              i n di c at e t h e dis a gr e e m e nt i n t h e s p a c e
                              b el o w:


      b.           Dis c o v er y S u bj e cts : ( d es cri b e t h e s u bj e ct ar e as i n w hi c h dis c o v er y will b e

                   n e e d e d)

                   Pl ai ntiffs’ P ositi o n : Dis c o v er y will b e n e e d e d o n at l e ast t h e f oll o wi n g s u bj e cts:




                                                                    4
     1. w h et h er S u n d a n c e is a “ c o m m er ci al e ntit y ” wit hi n t h e m e a ni n g of t h e
NI S N PI A;

     2. w h et h er Pl ai ntiffs a n d t h e cl ass m e m b ers e nt er e d i nt o “ c o ns u m er
tr a ns a cti o ns ” wit h S u n d a n c e wit hi n t h e m e a ni n g of NI S N PI A;

     3. w h et h er S u n d a n c e pr o vi d e d t h e n oti c e r e q uir e d b y t h e NI S N PI A t o
Pl ai ntiffs a n d Cl ass m e m b ers b ef or e t h e y e nt er e d i nt o c o ns u m er tr a ns a cti o ns

wit h S u n d a n c e;

     4. w h et h er S u n d a n c e o bt ai n e d Pl ai ntiffs’ a n d Cl ass m e m b ers’ Pri v at e
P ur c h as e I nf or m ati o n ( as t h at t er m is d efi n e d i n t h e C o m pl ai nt) as a r es ult of

c o ns u m er tr a ns a cti o ns, a n d w h et h er s u c h i nf or m ati o n c o nstit ut es “ n o n p u bli c

p ers o n al i nf or m ati o n ” wit hi n t h e m e a ni n g of t h e NI S N PI A;
     5. w h et h er S u n d a n c e dis cl os e d Pl ai ntiffs’ a n d Cl ass m e m b ers’ Pri v at e
P ur c h as e I nf or m ati o n t o a t hir d p art y;

     6. w h et h er S u n d a n c e’s dis cl os ur es of Pl ai ntiffs’ a n d t h e Cl ass’s Pri v at e
P ur c h as e I nf or m ati o n t o t hir d p arti es vi ol at e d t h e NI S N PI A;

     7. t h e n u m b er of vi ol ati o ns of t h e NI S N PI A, n u m b er of cl ass m e m b ers,
a n d i nf or m ati o n r el at e d t o t h e cl ass m e m b ers a n d t h eir p ur c h as es; a n d

     8. w h et h er t h e r e q uir e m e nts of R ul e 2 3 ar e s atisfi e d s o as t o w arr a nt
c ertifi c ati o n of t h e pr o p os e d Cl ass .
D ef e n d a nt’s P ositi o n : Dis c o v er y will b e n e e d e d o n at l e ast t h e f oll o wi n g

s u bj e cts:

     1. W h et h er Pl ai ntiffs ar e b o n a fi d e c o ns u m ers or r at h er pr of essi o n al

pl ai ntiffs;

     2. Pl ai ntiffs’ pr e -liti g ati o n d e m a n d hist or y a n d liti g ati o n hist or y i n v ol vi n g

c o ns u m er cl ai ms a n d cl ass a cti o ns;




                                             5
            3. Pl ai ntiffs ’ I nt er n et s e ar c h hist or y i n t h e m o nt hs b ef or e a n d aft er t h e

     d at es of t h eir all e g e d tr a ns a cti o ns wit h D ef e n d a nt;

            4. Pl ai ntiffs’ c o ns u m er hist or y d uri n g t h e r el e v a nt ti m e -p eri o d f or t his

     liti g ati o n;

            5. Pl ai ntiffs’ dis cl os ur e of “ n o n -p u bli c p ers o n al i nf or m ati o n ”;

            6. Pl ai ntiffs’ s o ci al m e di a, i n cl u di n g all r e m o v e d c o nt e nt, d uri n g t h e

     r el e v a nt ti m e-p eri o d f or t his liti g ati o n;

            7. T hir d -p art y dis c o v er y r e g ar di n g t h e i nt e nt of t h e cl ass a cti o n

     pr o hi biti o n i n t h e NI S N PI A;

            8. W h et h er t h e r e q uir e m e nts of R ul e 2 3 ar e s atisfi e d s o as t o w arr a nt

     c ertifi c ati o n of t h e pr o p os e d Cl ass .


     Dis c o v er y P h as es : Will dis c o v er y b e c o n d u ct e d i n p h as es ? If s o, pl e as e e x pl ai n.
c.
     N o.


d.   El e ctr o ni c all y St or e d I nf or m ati o n : ( d es cri b e h o w t h e p arti es will h a n dl e

     dis c o v er y of el e ctr o ni c all y st or e d i nf or m ati o n)

                 El e ctr o ni c all y st or e d m at eri als s h all b e pr o d u c e d i n n ati v e f or m at a n d,

     w h er e f e asi bl e, wit h i m a g e fil e, t e xt fil e a n d att e n d a nt l o a d fil es f or us e wit h a n

     e -dis c o v er y s oft w ar e. N ot hi n g h er ei n s h all li mit a r es p o n di n g p art y’s ri g ht t o

     o bj e ct t o t h e pr o d u ct i o n of a n y el e ctr o ni c all y st or e d m at eri als s o u g ht b y a

     r e q u esti n g p art y. If t h e cir c u mst a n c es w arr a nt, t h e p arti es a gr e e t o c o o p er at e t o
     i d e ntif y s e ar c h t er ms t o b e us e d b y a r es p o n di n g p art y t o s e ar c h f or

     el e ctr o ni c all y st or e d m at eri als s o u g ht b y a r e q u esti n g p art y.




                                                     6
4.   F A C T DI S C O V E R Y
      a.    F a ct Dis c o v er y Li mit ati o ns —

            1.      M a xi m u m n u m b er of d e p ositi o ns c oll e cti v el y b y Pl ai ntiff s:      10

            2.      M a xi m u m n u m b er of d e p ositi o ns b y D ef e n d a nt:                       18

            3.      M a xi m u m n u m b er of h o urs f or e a c h d e p ositi o n:                       7

                    (u nl ess e xt e n d e d b y a gr e e m e nt of p arti es )

            4.      M a xi m u m i nt err o g at ori es c oll e cti v el y b y Pl ai ntiffs or b y         25

                    D ef e n d a nt :

            5.      M a xi m u m r e q u ests f or a d missi o ns c oll e cti v el y b y Pl ai ntiff s     25

                    or b y D ef e n d a nt :

            6.      M a xi m u m r e q u ests f or pr o d u cti o n c oll e cti v el y b y Pl ai ntiff s   50

                    or b y D ef e n d a nt :

      b.    Ot h er F a ct Dis c o v er y D e a dli n es —

            1.      D e a dli n e t o s er v e writt e n dis c o v er y:                                   1 0 /1 0 / 2 0 2 5

            2.      D e a dli n e f or f a ct dis c o v er y t o cl os e:                                  1 1 /2 1 / 2 0 2 5

5.   A M E N DI N G O F P L E A DI N G S A N D J OI NI N G O F P A R TI E S
      a.    D e a dli n e t o fil e a m oti o n t o a m e n d pl e a di n gs —                             3/ 3 0/ 2 0 2 5

      b.    D e a dli n e t o fil e a m oti o n t o j oi n a d diti o n al p arti es —                     3/ 3 0/ 2 0 2 5

6.   E X P E R T DI S C O V E R Y
      a.    Fili n g of N oti c e of D esi g n ati o n r e q uir e d b y D U Ci v R 2 6 -1( a)( 2) —

            1.          P arti es b e ari n g t h e b ur d e n of pr o of:                                 1 1 /3 / 2 0 2 5

            2.          P arti es n ot b e ari n g t h e b ur d e n of pr o of:                            1 1 /1 7 / 2 0 2 5

      b.    S er vi c e of F e d. R. Ci v. P. 2 6( a)( 2) Dis cl os ur es a n d R e p orts —

            1.          P arti es b e ari n g t h e b ur d e n of pr o of:                                 1 1 /2 4 / 2 0 2 5

            2.          P arti es n ot b e ari n g t h e b ur d e n of pr o of:                            1 2 /0 8 / 2 0 2 5

            3.          R e b utt al r e p orts, if a n y:                                                 1 /1 2 / 2 0 26



                                                                  7
        c.       D e a dli n e f or e x p ert dis c o v er y t o cl os e:                                            2 /1 3 / 2 0 26

7.     C L A S S C E R TI FI C A TI O N
        a.               D e a dli n e f or fili n g M oti o n f or Cl ass C ertifi c ati o n                     1 2 /0 5 / 2 0 2 5

        b.               D e a dli n e f or fili n g O p p ositi o n                                              0 2 /0 6 / 2 0 26

        c.               D e a dli n e f or fili n g R e pl y                                                     0 3 /0 6 / 2 0 26



8.     O T H E R D E A D LI N E S A N D T RI A L -R E L A T E D I N F O R M A TI O N
        a.               D e a dli n e f or fili n g dis p ositi v e or p ot e nti all y dis p ositi v e             0 4 /1 5 / 2 0 26

                         m oti o ns: (i n cl u di n g a m oti o n t o e x cl u d e e x p erts w h e n e x p ert

                         t esti m o n y is r e q uir e d t o r es ol v e t h e m oti o n)

        b.               Tri al:                                                              Be nc h ☐              J ur y ☒

        c.               Tri al d a ys:                                                                              5 -6 d a ys




/s/_ _ _ _ _ Fr a n k S. H e di n _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                 D at e: 0 1/ 1 3/ 2 0 2 5
Fr a n k S. H e di n
Fr a n k S. H e di n ( pr o h a c vi c e )
Elli ot O. J a c ks o n ( pr o h a c vi c e )
H E DI N L L P
1 3 9 5 Bri c k ell A v e n u e, St e 6 1 0
Mi a mi, F L 3 3 1 3 1
T el e p h o n e : ( 3 0 5) 3 5 7-2 1 0 7
f h e di n @ h e di nll p. c o m
ej a c ks o n @ h e di nll p. c o m

D a vi d W. S c ofi el d
P E T E R S ❘ S C O FI E L D
A Pr of essi o n al C or p or ati o n
7 4 3 0 Cr e e k R o a d, S uit e 3 0 3
S a n d y, U T 8 4 0 9 3 -6 1 6 0
T el e p h o n e: ( 8 0 1) 3 2 2-2 0 0 2
d ws @ ps pl a w y ers. c o m

Att or n e ys f or Pl ai ntiffs a n d t h e P ut ati v e Cl ass




                                                                       8
/s/_ _ J or d a n K. C a m er o n ( w/ p er missi o n )_ _ _ _ _ _ _ _ _   D at e: 0 1/ 1 3/ 2 0 2 5
J or d a n K. C a m er o n
C A M E R O N RI N G W O O D, L C
6 9 7 5 U ni o n P ar k A v e, S uit e 6 0 0
C ott o n w o o d H ei g hts, U T 8 4 0 4 7
T el e p h o n e: ( 3 8 5) 4 6 3 -2 4 2 5
j or d a n @ c a m er o nri n g w o o d. c o m

Eli z a b et h C. Ri n e h art ( pr o h a c vi c e)
VE N ABLE LLP
7 5 0 E. Pr att Str e et, S uit e 9 0 0
B alti m or e, M D 2 1 2 0 2
T el e p h o n e: ( 4 1 0) 5 2 8 -4 6 4 6
l cri n e h art @ v e n a bl e. c o m

Att or n e ys f or D ef e n d a nt




                                                                  9
